Case 2:21-cv-04288-JFW-ADS Document 29 Filed 01/05/22 Page 1 of 4 Page ID #:137




 1   MUNCK WILSON MANDALA, LLP
 2   Gary A. Hecker (State Bar No. 099008)
     ghecker@munckwilson.com
 3   Jenifer C. Wallis (State Bar No. 303343)
 4   Jwallis@munckwilson.com
     1925 Century Park East, Suite 2300
 5   Los Angeles, California 90067
 6   Tel: (310) 286-0377
     Fax: (972) 628-3616
 7
 8   Attorneys for Defendants
     ERICA LAZAR and LAZ
 9   RUBAUM, erroneously named as
10   d/b/a SKIN STYLE BEVERLY HILLS

11                        UNITED STATES DISTRICT COURT
12
           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
13
14
     DON MEHRABI, M.D., a California            Case No. 2:21-cv-04288-JFW-ADS
15   Professional Medical Corporation,
                                                STIPULATION TO EXTEND TIME TO
16
                 Plaintiff,                     RESPOND TO FIRST AMENDED
17                                              COMPLAINT (L.R. 8-3)
18               v.
                                                Complaint served: November 15, 2021
19   ERICA LAZAR, an individual, LAZ            Initial response date: December 6, 2021
20   RUBAUM, an individual, d/b/a Skin          Current response date: January 5, 2022
     Style Beverly Hills, and DOES 1-10,        New response date: January 19, 2022
21
22               Defendants.                    Hon. John F. Walter

23
24
25
26
27
28
                                                 1
        STIPULATION AND REQUEST FOR COURT APPROVAL TO EXTEND TIME TO
                 RESPOND TO FIRST AMENDED COMPLAINT (L.R. 8-3)
Case 2:21-cv-04288-JFW-ADS Document 29 Filed 01/05/22 Page 2 of 4 Page ID #:138




 1                                        STIPULATION
 2            Pursuant to Local Rule 8-3, the parties to this action, through their respective
 3   counsel, hereby stipulate and agree to the following:
 4            WHEREAS, Plaintiff Don Mehrabi, M.D. (“Plaintiff”) filed its initial
 5   Complaint in this matter on May 24, 2021;
 6            WHEREAS, Plaintiff Don Mehrabi, M.D. (“Plaintiff”) filed its First
 7   Amended Complaint in this matter on November 5, 2021;
 8            WHEREAS, Defendant Laz Rubaum, erroneously named as d/b/a Skin Style
 9   Beverly Hills (“Defendant”) was served with the Summons and Complaint on
10   November 15, 2021, making his responsive pleading due December 6, 2021;
11            WHEREAS, the parties previously agreed to continue Defendant Rubaum’s
12   time to respond to the First Amended Complaint by not more than 30 days to
13   January 5, 2022;
14            WHEREAS, the parties have now agreed to extend Defendant Rubaum’s time
15   to respond to the First Amended Complaint by an additional fourteen (14) days to
16   January 19, 2022;
17            WHEREAS, Local Rule 8-3 provides that a stipulation, including any prior
18   stipulations, not extending the time to respond by a cumulative total of thirty (30)
19   days need not be approved by the court;
20            WHEREAS, this is the second stipulation between the parties, extending Dr.
21   Rubaum’s time to respond to the Summons and Complaint by a cumulative total of
22   more than thirty (30) days and therefore requires judicial approval;
23            NOW, THEREFORE, the parties agree pursuant to Local Rule 8-3 that
24   Defendant Rubaum shall file his response to the First Amended Complaint on or
25   before January 19, 2022 and request this Honorable Court’s approval of the same.
26
27   //////
28
                                                   2
         STIPULATION AND REQUEST FOR COURT APPROVAL TO EXTEND TIME TO
                  RESPOND TO FIRST AMENDED COMPLAINT (L.R. 8-3)
Case 2:21-cv-04288-JFW-ADS Document 29 Filed 01/05/22 Page 3 of 4 Page ID #:139




 1        The parties therefore request the Honorable Court enter the proposed order
 2   extending Defendant Rubaum’s time to respond to the Summons and Complaint to
 3   January 19, 2022.
 4
 5   Dated: January 5, 2022            MUNCK WILSON MANDALA, LLP
 6
                                       By: /s/ Jenifer C. Wallis
 7                                         Jenifer C. Wallis
 8                                         Gary A. Hecker
                                           Attorneys for Defendants
 9
10
11
12   Dated: January 5, 2022            COHEN IP LAW GROUP
13
14                                     By: _/s/ Michael N. Cohen
                                           Michael N. Cohen
15                                         Chong H. Roh
16                                         Attorneys for Plaintiff

17
18
19
20
21
22
23
24
25
26
27
28
                                             3
        STIPULATION AND REQUEST FOR COURT APPROVAL TO EXTEND TIME TO
                 RESPOND TO FIRST AMENDED COMPLAINT (L.R. 8-3)
Case 2:21-cv-04288-JFW-ADS Document 29 Filed 01/05/22 Page 4 of 4 Page ID #:140




 1                            SIGNATURES ATTESTATION
 2         Pursuant to Local Rule 5-4.3.4(a)(2)(i), the filer hereby attests that all other
 3   signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
 4   content and have authorized the filing.
 5
 6   Dated: January 5, 2022               MUNCK WILSON MANDALA, LLP
 7
                                          By: /s/ Jenifer C. Wallis
 8                                            Jenifer C. Wallis
 9                                            Gary A. Hecker
                                              Attorneys for Defendants
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                4
        STIPULATION AND REQUEST FOR COURT APPROVAL TO EXTEND TIME TO
                 RESPOND TO FIRST AMENDED COMPLAINT (L.R. 8-3)
